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 7
 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 MCE
12                      Plaintiff,
13          v.                                        AMENDED STIPULATION AND
                                                      PROPOSED ORDER TO CONTINUE THE
14   TATYANA SHVETS, et. al.,                         STATUS CONFERENCE FROM
                                                      SEPTEMBER 4, 2014 TO DECEMBER 4,
15                      Defendants.                   2014
16
17          IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

18   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

19   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Scott Tedmon, Attorney for Aleksandr

20   Mikhaylov and Richard Nahigian, attorney for Hovik Mkrtchian, that the status conference date

21   of Thursday, September 4, 2014 should be continued to a mutually agreed upon date. The

22   continuance is necessary, as counsel for Shvets has recently entered the case and counsel for all

23   parties are still reviewing discovery, meeting with the respective clients and investigating

24   information as well as researching various possible resolutions.

25          IT IS SO STIPULATED that the period of time from September 4, 2014 up to and

26   including December 4, 2014.

27          Accordingly, the time between September 4, 2014 and December 4, 2014 should be

28   excluded from the Speedy Trial calculation pursuant to Title 18, United States Code, Section
                                                     1
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 1   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
 2   of justice served by granting this continuance outweigh the best interests of the public and the
 3   defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).
 4          September 11, 2014                     /s/ Kenneth Giffard
                                                   KENNETH N. GIFFARD
 5                                                 Attorney for Alexsandr Lastovskiy
 6          September 11, 2014                     /s/ Scott Tedmon
                                                   SCOTT TEDMON
 7                                                 Attorney for Alexsandr Mikhaylov
 8          September 11, 2014                      /s/ Joseph A. Welch
                                                   JOSEPH A. WELCH
 9                                                 Attorney for Tatyana Shvets
10          September 11, 2014                     /s/ Richard Nahigian
                                                   RICHARD NAHIGIAN
11                                                 Attorney for Hovik Mkrtchian
12          September 11, 2014                      /s/ Heiko Coppola
                                                   HEIKO COPPOLA
13                                                 Attorney for the United States
14                                                 ORDER
15          The status conference presently set for September 4, 2014 at 9:00 A.M., is hereby
     CONTINUED to December 4, 2014 at 9:00 A.M., and time under the Speedy Trial Act will be
16
     excluded from September 4, 2014 through December 4, 2014 pursuant to Title 18, United States
17   Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based on the
     representations of the parties in their stipulation. The Court finds that the ends of justice served
18   by granting this continuance outweigh the best interests of the public and the defendant in a
     speedy trial.
19          IT IS SO ORDERED.
20   Dated: September 11, 2014
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